                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION


 UNITED STATES OF AMERICA,


                     Plaintiff,

         v.                                            Case No. 3:21-cv-173-KC

 THE STATE OF TEXAS and GREG
 ABBOTT, in his official capacity as Governor
 of the State of Texas,


                     Defendants.


                         [PROPOSED] PRELIMINARY INJUNCTION

        This matter comes before the Court on the United States’ Emergency Motion for a

Temporary Restraining Order or Preliminary Injunction (Motion). On August 3, 2021, the Court

granted the Motion and issued a temporary restraining order against Texas Governor Greg

Abbott’s “executive order No. GA-37 relating to the transportation of migrants during the

COVID-19 disaster,” issued on July 28, 2021 (the executive order). On August 13, 2021, the

Court extended the temporary restraining order until August 27, 2021. Upon consideration of the

Complaint, the Motion and materials filed in support thereof and in opposition thereto, and the

evidence submitted at the August 13, 2021 hearing on the Motion, the Court finds as follows:

        1.      This Court has jurisdiction over the subject matter of this case, there is good cause

to believe it will have jurisdiction over all the parties, and venue in this district is proper.

The United States is likely to prevail on its claims that the executive order violates the

Supremacy Clause of the U.S. Constitution because (1) it conflicts with, and poses an obstacle

to, federal immigration law; and (2) it violates principles of intergovernmental immunity.
       2.      The executive order would cause irreparable injury to the United States and to

individuals whom the United States is charged to protect, jeopardizing the health and safety of

noncitizens in federal custody, risking the safety of federal law enforcement personnel and their

families, exacerbating the spread of COVID-19, and unlawfully restricting the transport of

certain migrants both in and out of federal custody in conflict with federal law.

       3.      The balance of equities and the public interest favor the United States because the

executive order would interfere with federal immigration operations, undermine border security,

exacerbate the spread of COVID-19, and improperly limit the transport of certain migrants, and

these harms outweigh any harm to Defendants from an injunction.

       Accordingly, IT IS HEREBY ORDERED that, pursuant to Federal Rule of Civil

Procedure 65, the Motion is GRANTED.

       IT IS FURTHER ORDERED that Defendants, their agents, officers, and employees, and

all other persons and entities in active concert or participation with them are enjoined from

taking any action to enforce the executive order.

       IT IS FURTHER ORDERED this preliminary injunction shall remain in force until

resolution of this action on the merits.



       SO ORDERED, this the ____ day of ____________________, 2021.




                                              _________________________________
                                              UNITED STATES DISTRICT JUDGE




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